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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                              NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     INTERNATIONAL TECHNOLOGICAL                        Case No. 22-cv-04576-BLF
                                         UNIVERSITY FOUNDATION,
                                   8
                                                         Plaintiff,                         ORDER DIRECTING O’BRIEN AND
                                   9                                                        ITU TO SUBMIT JOINT REQUEST
                                                  v.                                        FOR ANY PROPOSED REDACTIONS
                                  10                                                        OR STATEMENT THAT NO
                                         WASC SENIOR COLLEGE AND                            REDACTIONS ARE REQUESTED BY
                                  11     UNIVERSITY COMMISSION, et al.,                     MAY 17, 2023
                                  12                     Defendants.
Northern District of California
 United States District Court




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                                  14          On May 3, 2023, the Court issued an order on WSCUC’s, O’Brien’s, and Ryan’s motions

                                  15   to dismiss. ECF No. 80. The order was filed conditionally under seal as it may contain material

                                  16   that is subject to forthcoming renewed motions to seal by O’Brien and ITU. See ECF No. 79.

                                  17          O’Brien and ITU SHALL submit a joint request for any proposed redactions to the order

                                  18   before it is filed on the public docket or a statement that no redactions are requested by May 17,

                                  19   2023. If O’Brien and ITU request redactions, they shall submit a proposed redacted version of the

                                  20   order with their joint request.

                                  21          IT IS SO ORDERED.

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                                  23   Dated: May 3, 2023

                                  24                                                   ______________________________________
                                                                                       BETH LABSON FREEMAN
                                  25                                                   United States District Judge
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